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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION




   OMAR SANTOS and AMANDA CLEMENTS                    Case No 1:19-cv-23084-KMW
   on behalf of themselves and all others similarly
   situated,

                  Plaintiffs,

          vs.

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC d/b/a ARS ACCOUNT
   RESOLUTION SERVICES and EXPERIAN
   INFORMATION SOLUTIONS, INC.,

               Defendants.
   _____________________________________/


    PLAINTIFFS’ MOTION TO STRIKE DEFENDANT HEALTHCARE REVENUE
  RECOVERY GROUP LLC’S SUPPLEMENTAL STATEMENT OF MATERIAL FACTS

         Plaintiffs Omar Santos and Amanda Clements, on behalf of themselves and all others

  similarly situated (hereinafter “Plaintiffs”), respectfully request that the Court strike the

  improperly filed “Supplemental Statement of Material Facts in Support of Motion for Summary

  Judgment” (D.E. 88) filed by Defendant Healthcare Revenue Recovery Group LLC d/b/a ARS

  Account Resolution Services (“ARS”), and in support thereof assert:

         1.     On September 14, 2020, ARS filed its motion for summary judgment and separate

  statement of material facts. (DE 59 & 60.)

         2.     On September 28, 2020, Plaintiffs filed their opposition to ARS’s motion for

  summary judgment and responded with their statement of disputed and additional facts. (DE 64 &

  65.)


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          3.      On October 5, 2020, ARS filed its reply brief in support of its motion for summary

  judgment. (DE 69.)

          4.      Accordingly, briefing on ARS’s motion for summary judgment closed on October

  5, 2020.

          5.      On April 5, 2021, however, ARS filed a so-called “Supplemental Statement of

  Material Facts in Support of Motion for Summary Judgment.” (DE 88.)

          6.      ARS’ “supplemental” submission is an unauthorized filing and improper attempt

  to circumvent the rule that a party may only file one motion for summary judgment. For every

  motion, Local Rule 7.1 provides for a brief, an opposition, and a reply—and nothing further. For

  summary judgment motions, Local Rule 56.1 provides for a Statement of Material Fact to

  accompany the brief, the opposition, and the reply. Nowhere is a free-floating “supplemental”

  statement of material facts authorized. ARS’s filing is therefore improper.

          7.      ARS elected to file its motion for summary judgment before the close of discovery.

  ARS, not Plaintiffs, chose the timing of its motion for summary judgment. ARS cannot now have

  a “do over” and reopen its fully briefed motion for summary judgment with the filing of a

  “supplemental statement of material facts.”

          8.      Beyond a motion, response, and reply, Local Rule 7.1 clearly states that “[n]o

  further or additional memoranda of law shall be filed and served without prior leave of Court. All

  materials in support of any motion, response, or reply, including affidavits and declarations,

  shall be served with the filing.” Id. (emphasis added); see also Gyptec, S.A. v. Hakim-Daccach,

  No. 16-20810-MC, 2017 WL 10978837, at *4 (S.D. Fla. June 27, 2017) (striking affidavit filed

  after close of briefing).




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         9.      In addition, the Local Rule pertaining to summary judgment provides that when “a

  party files and serves any Statement of Material Facts that does not comply with this rule, then the

  Court may strike the Statement, require immediate compliance, grant relief to any opposing party

  for any prejudice arising from a non-complaint statement or response, or enter other sanctions that

  the Court deems appropriate.” S.D. Fla. L.R. Rule 56.1(d). ARS’s free-floating “supplemental”

  separate statement, untethered to any authorized briefing, does not comply with the requirements

  of Local Rule 56.1.

         10.     ARS’s decision to file its summary judgment before the close of discovery and then

  attempt a do-over through this unauthorized filing is even more perplexing given the repeated

  reminders issued by this Court regarding the requirements of the Local Rules. In its March 25,

  2020 Order denying Defendant Experian Information Solutions, Inc.’s motion to stay, the Court

  clearly stated: “The Court reminds Defendant that under Local Rule 7.1, ‘[f]iling and service of

  multiple motions for partial summary judgment is prohibited, absent prior permission of the

  Court.’” (DE 49 (quoting Local Rule 7.1).) Nevertheless, ARS chose to file its motion for

  summary judgment on September 14, 2020, months before fact discovery was completed.

  Additionally, in its March 23, 2021 Order denying Experian’s motion for summary judgment, the

  Court reminded the parties again that “Local Rule 7.1(c) authorizes only opposing and reply briefs.

  The rule also makes clear that ‘[n]o further or additional memoranda of law shall be filed and

  served without prior leave of Court.’” (DE 83 (quoting Local Rule 7.1).) See also Tracfone

  Wireless, Inc. v. Unlimited PCS, Inc., No. 12-20013-CIV, 2012 WL 12996615, at *1 (S.D. Fla.

  Mar. 14, 2012) (striking unauthorized supplemental filing pursuant to L.R. 7.1); Burger v. Hartley,

  No. 11-62037-CIV, 2012 WL 12837901, at *1 (S.D. Fla. Aug. 30, 2012) (striking unauthorized

  surreply); Khattab v. Morehouse Sch. of Med., No. CIV.A.107CV196RWSLTW, 2009 WL




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  1513172, at *2 (N.D. Ga. May 28, 2009) (upholding Magistrate Judge’s order striking

  unauthorized sur-replies).

         11.     Because ARS’s filing constitutes a flagrant violation of the Local Rules and this

  Court’s Orders, Plaintiffs respectfully request that the Court strike ARS’s “Supplemental

  Statement of Material Facts.”

                         Certificate of Compliance with Local Rule 7.1(a)(3)

         Counsel for Plaintiffs certifies that he has conferred with Counsel for HRRG, which

  opposes this motion.



   Dated: April 7, 2021                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on April

  7, 2021 via the Court Clerk’s CM/ECF system which will provide notice to all parties’ counsel of

  record by operation of the Court’s electronic filing system as indicated on the Notice of Electronic

  Filing. Parties may also access this filing through the Court’s CM/ECF System.

                                                       /s/ Peter Prieto
                                                       Peter Prieto (FBN 501492)
